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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


ONTARIO TEACHERS’ PENSION PLAN                   Civil Action No. 3:17-cv-00558 (SRU)
BOARD, Individually and as Lead Plaintiff on
Behalf of All Others Similarly Situated; and
                                                 CLASS ACTION
ANCHORAGE POLICE & FIRE
RETIREMENT SYSTEM, Individually and as
Named Plaintiff on Behalf of All Similarly-
Situated Bond Purchasers,

                         Plaintiffs,

vs.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., EREZ VIGODMAN, EYAL DESHEH,
SIGURDUR OLAFSSON, DEBORAH
GRIFFIN, and TEVA PHARMACEUTICAL
FINANCE NETHERLANDS III B.V.,


                         Defendants.


      HMG GLOBAL INITIATIVE INC. MOTION TO INTERVENE TO OBTAIN AN
            ORDER STRIKING THE SECOND AMENDED COMPLAINT

       [Proposed Intervenor] HMG Global Initiative Inc. (“HMG”) respectfully moves this

Court pursuant Federal Rule of Civil Procedure 24(a) and/or 24(b)(2) for an Order: (1) granting

HMG’s request to intervene in the pending action; and (2) striking the Second Amended

Complaint (the “SAC”) (ECF No. 310).

       For the reasons more fully set forth in the accompanying Memorandum of Law, the SAC

is an improper pleading under the Private Securities Litigation Reform Act of 1995 and should

therefore be stricken.

ORAL ARGUMENT REQUESTED
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       WHEREFORE, HMG respectfully requests this Court grant this motion to intervene and

strike the SAC, order Lead Plaintiff Ontario Teachers’ Pension Plan Board to revert to the claims

and allegations in its Amended Consolidated Complaint, dated June 22, 2018 (ECF No. 226),

together with such other and further relief as this Court may deem just and proper.

DATED: December 20, 2019                     HAGENS BERMAN SOBOL SHAPIRO LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the e-

mail addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List,

and I hereby certify that I have mailed a paper copy of the foregoing document via the United

States Postal Service to the non-CM/ECF participants indicated on the Manual Notice List

generated by the CM/ECF system.



                                                             /s/ Reed R. Kathrein
                                                            REED R. KATHREIN




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